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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ARNETT

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ARNETT2018 OK 64Case Number: SCBD-6676Decided: 09/10/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 64, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Emma Barlie Arnett, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Judgment and Sentence on a plea of guilty. Emma Barlie Arnett entered a plea of guilty to Manslaughter 1st Degree, in violation of 21 O.S.2011, § 711, which occurred on August 27, 2017. Arnett was sentenced to twelve years in the custody of the Department of Corrections with the first four years to be served in custody and the last eight years to be suspended with supervision under the division of Probation and Parole.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Emma Barlie Arnett is immediately suspended from the practice of law. Emma Barlie Arnett is directed to show cause, if any, no later than September 21, 2018, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until October 1, 2018, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Emma Barlie Arnett has until October 16, 2018, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until October 31, 2018, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT on September 10, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 711, First Degree ManslaughterCited


	
	








				
					
					
				

		
		

	
		
			
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